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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

JAVONNA S. BARNES

Plaintiff

v. cAsE N0. 8=18-cv-01473-PJM

NCC BUSINESS SERVICES, INC., et al.

Defendants

 

ENTRY OF APPEARANCE
Please enter the appearance of Patricia H. Beall, Esquire of Marks, O'Neill, O'Brien,

Doherty & Kelly, P.C. on behalf for Defendant Sun Ridge Associates, LP d/b/a Autumn Woods

Apartments.

Respectfully submitted,

MARKS, O’NEILL, O’BRlEN,
DOHERTY & KELLY, P.C.

/s/ Patricia H. Beall

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Attorneys for Defendant Sun Rz'dge
Associal‘es, LP d/b/a Autumn Woods
Apartments

{MD158283.1}

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY, that on this 16th day of November, 2018, a true copy of the

foregoing Was filed via CM/ECF to All Counsel of Record.

/s/ Patricia H. Beall
Patricia H. Beall

{MD158283.1}

